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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
           v.                                    :    CASE NO.
                                                 :
 ALLAN JENNINGS                                  :
                                                 :    VIOLATIONS:
                         Defendant.              :    18 U.S.C. § 231(a)(3)
                                                 :    (Civil Disorder)
                                                 :    18 U.S.C. § 1361
                                                 :    (Destruction of Government Property)
                                                 :

                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, ALLAN JENNINGS

committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement officer lawfully engaged in the lawful performance of his/her official duties incident

to and during the commission of a civil disorder which in any way and degree obstructed, delayed,

and adversely affected commerce and the movement of any article and commodity in commerce

and the conduct and performance of any federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, ALLAN JENNINGS did

willfully injure and commit depredation against property of the United States, and of any

department and agency thereof, and any property which has been and is being manufactured and

constructed for the United States, and any department or agency thereof, that is a glass door,

causing damage in an amount less than $1,000.
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(Destruction of Government Property, in violation of Title 18, United States Code,
Section 1361)



                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           D.C. Bar No. 481052




                                    By:    /s/ Nathaniel K. Whitesel
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